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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 ALESSANDRO MASI,

                                Plaintiff,                    Docket No. 6:19-cv-06058

        - against -                                           JURY TRIAL DEMANDED

 SINCLAIR TELEVISION GROUP, INC.

                                Defendant.


                                          COMPLAINT

       Plaintiff Alessandro Masi (“Masi” or “Plaintiff”) by and through his undersigned counsel,

as and for his Complaint against Defendant Sinclair Television Group, Inc. (“Sinclair” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of seven

copyrighted photographs the luxury Halden Prison in Norway, owned and registered by Masi, a

professional photographer. Accordingly, Masi seeks monetary relief under the Copyright Act of

the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in New York.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).
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                                             PARTIES

       5.      Masi is an award-winning professional photographer in the business of licensing

his photographs for a fee having a usual place of business at 6 Balmoral Road, London, England

NW25DY. Masi’s work has been published and exhibited internationally. He won the prestigious

Premio Anima 2015 Soul Prize for Photography in Italy and his work was exhibited as part of

UNICEF’s Germany collaboration with the Arp Museum.

       6.      Upon information and belief, Sinclair is a foreign limited liability company duly

organized and existing under the laws of the State of Maryland with a place of business at 4225

West Henrietta Road, Rochester, New York 14623. At all times material, hereto, Sinclair has

owned and operated the URL: www.NBC24.com (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photographs

       7.      Masi photographed the luxury Halden Prison in Norway (the “Photographs”). A

true and correct copy of the Photographs are attached hereto as Exhibit A.

       8.      Masi is the author of the Photographs and has at all times been the sole owner of

all right, title and interest in and to the Photographs, including the copyright thereto.

       9.      The Photographs was registered with the United States Copyright Office and was

given registration number VA 1-996-957.

       B.      Defendant’s Infringing Activities

       10.     Sinclair ran an article on the Website entitled Could Norway’s ‘comfy’ prison

work in the U.S.? See: https://nbc24.com/news/local/could-norways-comfy-prisons-work-in-the-

us. Screenshot of the Photographs on the Website are attached hereto as Exhibit B.
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          11.     Sinclair did not license the Photographs from Plaintiff for its Website, nor did

Sinclair have Plaintiff’s permission or consent to publish the Photographs on its Website.

                                 CLAIM FOR RELIEF
                      (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                 (17 U.S.C. §§ 106, 501)

          12.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.     Sinclair infringed Plaintiff’s copyright in the Photographs by reproducing and

publicly displaying the Photographs on the Website. Sinclair is not, and has never been, licensed

or otherwise authorized to reproduce, publically display, distribute and/or use the Photographs.

          14.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.     Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment as follows:

          1.      That Defendant Sinclair be adjudged to have infringed upon Plaintiff’s copyrights

                  in the Photographs in violation of 17 U.S.C §§ 106 and 501;
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       2.      That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

               gains or advantages of any kind attributable to Defendant’s infringement of

               Plaintiff’s Photographs;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       4.      That Plaintiff be awarded punitive damages for copyright infringement;

       5.      That Plaintiff be awarded attorney’s fees and costs;

       6.      That Plaintiff be awarded pre-judgment interest; and

       7.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       January 18, 2019
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